






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00009-CV






City of Round Rock and Round Rock Fire Chief Larry Hodge, Appellants


v.


Mark Whiteaker, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT

NO. D-1-GN-06-003576, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING



		

			

C O N C U R R I N G   O P I N I O N



		When deciding questions of jurisdiction, the element of necessity guards against
the&nbsp;temptation to address the merits of the case or to issue advisory commentary.  I agree that
Whiteaker's claim for retrospective monetary relief as currently plead is foreclosed by the supreme
court's recent decision in City of Houston v. Williams, 216 S.W.3d 827 (Tex. 2007), and that, in light
of Williams, decided after the trial court ruled on this matter, Whiteaker should be given
an&nbsp;opportunity to replead.  But the majority's analysis goes beyond the limits of the procedure
established by the supreme court in Texas Department of Parks and Wildlife v. Miranda, 133 S.W.3d
217 (Tex. 2004).

		When a plea to the jurisdiction challenges the pleadings, we determine if the
pleader&nbsp;has alleged facts that affirmatively demonstrate the court's jurisdiction to hear the cause. 
133 S.W.3d at 226.  We construe the pleadings liberally in favor of the plaintiff and look to the
pleaders' intent.  Id. at 226-27.  We presume in favor of the trial court's jurisdiction unless lack
of&nbsp;jurisdiction affirmatively appears on the face of the pleadings.  Peek v. Equipment Serv. Co.,
779&nbsp;S.W.2d 802, 804 (Tex. 1989).  If the pleadings do not contain sufficient facts to affirmatively
demonstrate the trial court's jurisdiction but do not affirmatively demonstrate incurable defects in
jurisdiction, the issue is one of pleading sufficiency and the plaintiff should be afforded the
opportunity to amend.  Miranda, 133 S.W.3d at 226-27.

		It is readily apparent from the face of the pleadings that, with the exception of
his&nbsp;claim for retrospective monetary relief as currently pleaded, Whiteaker has alleged sufficient
facts to demonstrate the trial court's jurisdiction.  Accordingly, review of the evidence submitted
by&nbsp;the&nbsp;City is unwarranted, and the trial court properly denied the City's plea to the jurisdiction. 
See&nbsp;id. at 227.

		Moreover, given the supreme court's decision in Williams, Whiteaker's allegations
do not affirmatively negate jurisdiction and, as the majority correctly concludes, he should be given
the opportunity to replead.  See id. at 226-27.  The supreme court has since reaffirmed its conclusion
that a plaintiff "deserves the opportunity to amend his pleadings if they can be cured."  Texas A&amp;M
Univ. Sys. v. Koseoglu, 2007 Tex. LEXIS 838, *30 (Tex. Sept. 7, 2007).


	

						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Filed:   September 14, 2007


